                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
 v.                                            )         No. 3:11-CR-129-008
                                               )         (VARLAN/SHIRLEY)
 KELSEY MORTON                                 )
                                               )



         ORDER OF REVOCATION OF BOND AND DETENTION PENDING
                       FURTHER PROCEEDINGS


               The above-named defendant appeared in custody before the undersigned on

 April 12, 2012 for an initial appearance on Petition for Action on Conditions of Pretrial

 Release.   United States Attorney Cynthia F. Davidson was present for the government

 and CJA Panel Attorney Julie A. Rice was present on behalf of the defendant. The

 government moved for detention pursuant to 18 U.S.C. § 3148.

                Counsel for the defendant, and the defendant executed a Waiver of

 Detention and Revocation Hearing. Defendant reserved the right to request a future

 hearing as to both.

               The Court finds based on the petition and the lack of any defense, the

 defendant has by clear and convincing evidence violated conditions of her release and

 finds that the defendant is unlikely to abide by any conditions or combination of release




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 that the court can otherwise again release her on. Accordingly, the defendant's pretrial

 release is REVOKED and the defendant is detained pending trial or plea.

               For good cause shown, the defendant’s request not to contest, and to waive

 the detention hearing is hereby GRANTED.

               It is therefore ORDERED that:

               (1)    Defendant be detained;

               (2)    Defendant be committed to the custody of the Attorney
                      General for confinement in a corrections facility separate, to
                      the extent practicable, from persons awaiting or serving
                      sentences or being held in custody pending appeal;

               (3)    Defendant be afforded reasonable opportunity for private
                      consultation with counsel; and

               (4)    On order of a court of the United States or on request of an
                      attorney for the government, the person in charge of the
                      corrections facility in which the defendant is confined
                      deliver the defendant to a United States marshal for the
                      purpose of an appearance in connection with any court
                      proceeding.


                                    ENTER:

                                        s/ C. Clifford Shirley, Jr.
                                    United States Magistrate Judge




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